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                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    JOANNA BURKE and JOHN BURKE,                        §
                                                        §
          Plaintiffs,                                   §
                                                        §
    v.                                                  §                     Civil Action No. 4:18-cv-4544
                                                        §
    OCWEN LOAN SERVICING, LLC,                          §
                                                        §
          Defendant.                                    §

                         OCWEN LOAN SERVICING, LLC'S
                MOTION TO DISMISS PLANTIFFS' ORIGINAL COMPLAINT

          Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Ocwen Loan

Servicing, LLC (hereinafter "Ocwen"), files this Motion to Dismiss in response to Plaintiffs’

Original Complaint (“Complaint”) [Doc. 1-3].                In support of the foregoing, Ocwen would

respectfully show the Court the following:

                                                   I.
                                                SUMMARY

          1.      Ocwen is the mortgage servicer for Deutsche Bank 1 with respect to home equity

loan taken out by Joanna and John Burke (hereafter "Plaintiffs"). Deutsche Bank and Plaintiffs

have been embroiled in contentious litigation since 2011, the litigation being over the foreclosure

of the Burkes' home equity security instrument. The Burkes asserted that the home equity loan

was fraudulent, and that Deutsche Bank (and its lawyers) were all scoundrels. In reversing the

trial court's judgment, and thereafter rendering judgment in favor of Deutsche Bank on its judicial

foreclosure claim, the Fifth Circuit held, "Given nearly a decade of free living by the Burkes, there



1
 Deutsche Bank National Trust Company, as Trustee of the Residential Asset Securitization Trust 2007-A8, Mortgage
Pass-Through Certificates, Series 2007-H under the Pooling and Servicing Agreement Dated June 1, 2007


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is no injustice in allowing that foreclosure to proceed." Deutsche Bank Nat. Trust Co. v. Burke,

902 F.3d 548, 552 (5th Cir. 2018).

          2.       Now that the seven-year litigation with Deutsche Bank has all but resolved, the

Burkes are attempting to continue the fight by suing Ocwen, the servicer of the loan at issue, as

well as Deutsche Bank's attorneys (in a separate lawsuit 2). As pled by the Burkes in this lawsuit,

Ocwen has breached its contract with the Burkes in charging excess interest on the loan, assessing

improper force placed insurance, and misapplying payments made on the loan. See Id. at pp.'s 25-

30. Also, the Burkes plead that Ocwen has failed to comply with RESPA in responding to the

Burkes' (post- Fifth Circuit Judgment) inquiries about their home loan. [Doc. 1-3, pp. 16-20].

          3.       Res Judicata. Plaintiffs' claims against Ocwen, stemming from the supposedly

improper charges for forced placed insurance on the loan, and/or the misapplication of payments

on the loan, and/or the inappropriate accrual of interest on the loan, are all barred by res judicata.

Ocwen is the mortgage loan servicer for Deutsche Bank regarding the loan. The Burkes have

previously litigated their defenses to foreclosure against Deutsche Bank, and the prior trial court

concluded "[T]he Burkes' remaining challenges to the foreclosure suit lacked merit." Res judicata

protects Ocwen from being forced to re-litigate the Burkes' compulsory counterclaims that were

brought, or should have been brought, against Deutsche Bank in the first lawsuit.

          4.       RESPA. The Burkes want nothing other than to bait Ocwen and Deutsche Bank

into repeated litigation to delay the foreclosure of the Burkes' Property.3 To that end the Burkes

sent correspondence to Ocwen, after the rendition of judgment by the Fifth Circuit, purporting to

be a qualified written request ("QWR") regarding the loan. The Burkes filed this lawsuit as soon

as Ocwen responded to the QWR and allege that Ocwen did not: (1) properly substantiate the


2
    See, Burke v. Hopkins Law, et al.; Civil Action 4:18-cv-4543.
3
    The real property commonly known as 46 Kingwood Greens Drive, Kingwood, Texas 77339 (the “Property”).

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validity of the loan, (2) did not provide the entire payment history on the Note, and (3) did not

respond to the QWR timely. The Burkes' purported QWR is fatally defective in that it fails to

identify what specific information is sought beyond just a general inquiry about the loan. Setting

aside the defective QWR, Ocwen's response was both timely and legally sufficient.

        5.       Background Facts. The underlying facts, as previously analyzed by the Fifth

Circuit in Deutsche Bank v. Burke4, remain unchanged. On May 21, 2007, Joanna Burke executed

a $615,000.00 Texas Home Equity Note (the “Note”). The Note is secured by a Texas Home

Equity Security Instrument ("Deed of Trust"), which encumbers the Property. John Burke joined

in the execution of the Deed of Trust as he is also in title to the Property. Despite receiving the

benefits of the Note, Joanna Burke stopped making payments on or about January 1, 2010. After

years of litigation, wherein Deutsche Bank sought judicial foreclosure and the Burkes sought to

have the loan invalidated, the Fifth Circuit granted Deutsche Bank's requested relief. Deutsche

Bank v. Burke, 902 F.3d 548, 552 (5th Cir. 2018). The Burkes now attempt to re-litigate the issues

with Ocwen despite Ocwen simply being the agent (mortgage servicer) of Deutsche Bank.

                                             II.
                                  ARGUMENT AND AUTHORITIES

A. The Applicable Standard for a 12(B)(6) Motion.

        6.       To survive a Rule 12(b)(6) motion to dismiss, a complaint must include facts that

“raise a right to relief above the speculative level,” and into the “realm of plausible liability.” Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 1965 and 1966 n.5 (2007). Even though the

complaint is to be construed liberally and in the light most favorable to the nonmoving party, a plaintiff

must plead enough facts to state a claim that is at least plausible on its face. Id. at 1973-74. Although


4
 See Plaintiffs' Complaint at pp 1 and 4 and Deutsche Bank v. Burke, 902 F.3d 548, 552 (5th Cir. 2018), which the
Court can judicial notice and properly consider when deciding a motion to dismiss. See Collins v. Morgan Stanley
Dean Witter, 224 F.3d 496, 498 (5th Cir. 2000); Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 2499 (2007).

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detailed factual allegations are not necessary, a “plaintiff’s obligation to provide the ‘grounds’ of his

‘entitle[ment] to relief’ requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Id. at 1964-65 (citing Papasan v. Allain, 478 U.S. 265,

286, 106 S.Ct. 2932 (1986)). In addition, the Court can consider the allegations in the complaint,

documents and materials referenced or central to the complaint, and matters subject to judicial

notice. Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th Cir. 2000); Tellabs, Inc.

v. Makor Issues & Rights, Ltd., 551 U.S. 2499 (2007). A complaint must allege enough facts to

move past possibility and on to plausibility of “entitlement to relief.” Id. at 1966. This standard is

referred to as the “flexible plausibility standard.” See Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct.

1937 (2009).

B. Res Judicata Bars Plaintiffs' Claims.

         7.     “Res judicata prevents parties and their privies from relitigating a cause of action

that has been finally adjudicated by a competent tribunal.” Ingersoll-Rand Co. v. Valero Energy

Corp., 997 S.W.2d 203, 206 (Tex. 1999)(emp. added). “The rule of res judicata rests upon the

policy of protecting a party from being twice vexed for the same cause, together with that of

achieving judicial economy in precluding a party who has had a fair trial from relitigating the same

issue.” Benson v. Wanda Petroleum Co., 468 S.W.2d 361, 363 (Tex. 1971). Res judicata also

serves to "[t]o prevent causes of action from being split, thus curbing vexatious litigation and

promoting judicial economy." Casterline v OneWest Bank, FSB, 2018 WL 1755821 (Tex. App. -

Corpus Christi 2018); Ingersoll-Rand Co. v. Valero Energy Corp., 997 S.W.2d 203, 206–07 (Tex.

1999).

         8.     “Broadly speaking, res judicata is the generic term for a group of related concepts

concerning the conclusive effects given final judgments. Within this general doctrine, there are



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two principal categories: (1) claim preclusion (also known as res judicata); and (2) issue preclusion

(also known as collateral estoppel). Res judicata, or claims preclusion, prevents the re-litigation of

a claim or cause of action that has been finally adjudicated, as well as related matters that, with the

use of diligence, should have been litigated in the prior suit. Issue preclusion, or collateral estoppel,

prevents re-litigation of particular issues already resolved in a prior suit.” Barr v. Resolution Trust

Corp. ex rel. Sunbelt Fed. Sav., 837 S.W.2d 627, 628 (Tex. 1992) (internal citations omitted).

         9.        Res judicata (claim preclusion) requires (1) a prior final judgment on the merits by

a court of competent jurisdiction (2) identity of parties or those in privity5 with them; and (3) a

second action based on the same claims that were raised of could have been raised in the first

action. Amstadt v. U.S. Brass Corp., 919 S.W.2d 644, 652 (Tex. 1996). All three elements apply

to Plaintiff’s lawsuit.

         10.       The doctrine of res judicata addresses the conclusive effects of judgments. Puga v.

Donna Fruit Co., 634 S.W.2d 677, 679 (Tex.1982). The general principle of res judicata is simple:

a party may not dispute a right, question, or fact distinctly put in issue and directly determined by

a court of competent jurisdiction in a prior suit as a ground of recovery or defense in a later suit

between the same parties. Marange v. Marshall, 402 S.W.2d 236, 239–40 (Tex. Civ. App.—

Corpus Christi 1966, writ ref'd n.r.e.). Res judicata also bars a party from litigating matters in a




5
  For purposes of res judicata, “[p]eople can be in privity in at least three ways: (1) they can control an action even if
they are not parties to it; (2) their interests can be represented by a party to the action; or (3) they can be successors in
interest, deriving their claims through a party to the prior action.” Amstadt v. U.S. Brass Corp., 919 S.W.2d 644, 653
(Tex. 1996) (citing res judicata as an exception to the general rule that a person is not usually bound by a declaratory
judgment action in which the person was not a party).

 The elements of issue preclusion are similar to claim preclusion: (1) the facts sought to be litigated in the second
action were fully and fairly litigated in the first action; (2) those facts were essential to the judgment in the first action;
and (3) the parties were cast as adversaries in the first action. John G. & Marie Stella Kenedy Mem'l Found. v.
Dewhurst, 90 S.W.3d 268, 288 (Tex. 2002). Under either doctrine, Plaintiffs’ lawsuit would be barred.


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later lawsuit that it could have raised, but did not raise, in a previous lawsuit. Jeanes, 688

S.W.2d at 103; Abbott Labs. v. Gravis, 470 S.W.2d 639, 642 (Tex.1971)(emp. added).

        11.     If the Burkes had a dispute regarding the legality of the charges to the loan, then

those issues were required to have been brought by the Burkes in connection with their other

counterclaims in the first litigation. A party's failure to assert compulsory counterclaims precludes

that party from asserting them in later lawsuits. Gray v. Kirkland, 550 S.W.2d 410, 411 (Tex. Civ.

App.— Corpus Christi 1977, writ ref'd n.r.e.); see also Barr v. Resolution Trust Corp., ex rel.

Sunbelt Fed. Sav., 837 S.W.2d 627, 629–31 (Tex.1992). The test for determining whether a claim

is a compulsory counterclaim is the “logical relationship” test. Jack H. Brown & Co. v. Northwest

Sign Co., 718 S.W.2d 397, 399–400 (Tex. App. —Dallas 1986, writ ref'd n.r.e.). Application of

this test requires that at least some of the facts surrounding the causes of action arise from the same

transaction or occurrence. Jack H. Brown & Co., 718 S.W.2d at 400. When the same facts, whether

controverted or uncontroverted, are significant and logically relevant to the various causes of

action, the “logical relationship” test is satisfied. Id.

        12.     The Dallas, Houston [1st Dist.], and Eastland Courts of Appeal have all previously

examined and held that a borrower's claims for improper handling of a home loan are compulsory

counterclaims to a mortgagee's foreclosure action. See Williams v. National Mortg. Co., 903

S.W.2d 398, 404 (Tex. App. - Dallas 1995) (DTPA, breach of implied duty, wrongful foreclosure

and trespass to try title all compulsory counterclaims to a foreclosure action); Jones v. First Nat'l

Bank of Anson, 846 S.W.2d 107, 109 (Tex. App.—Eastland 1992, no writ) (causes of action for

breach of duty of good faith and fair dealing, breach of fiduciary duty, negligent misrepresentation,

conversion, estoppel, and violations of the Deceptive Trade Practices—Consumer Protection Act

are compulsory counterclaims to a suit on a note); Lamar Sav. Ass'n v. White, 731 S.W.2d 715



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(Tex. App. - Houston [1st Dist.] 1987)(Even if a suit on the note and foreclosure are cumulative

remedies, it does not follow that Meyerland may maintain independent suits with respect to each.

By definition, the foreclosure arises from the alleged default on the note, and, in the instant case,

each of Meyerland's claims in the Harris County suit was based on its allegations that the note was

not in default because of Lamar's actions. Essentially, each remedy is dependent on an

“inextricably interwoven” factual basis).

        13.     Plaintiff's Original Complaint acknowledges that Ocwen is the agent of Deutsche

Bank. The Complaint provides, "Defendants are the alleged Mortgage Servicers for Deutsche

Bank National Trust Company, who claim to service the disputed debt and are responsible for the

accounting and administration of that debt." [Doc. 1-3, p.4]. Plaintiffs also admit the existence of

the Final Judgment within their Complaint. The Complaint provides, "It is clearly evident that the

judgement of foreclosure is one of the main reasons Ocwen have delayed and refused to comply

to the QWR." [Doc. 1-3, p. 20]. Plaintiffs' own pleadings establish that Ocwen is in privity with

Deutsche Bank and prior judgment granting judicial foreclosure exists in Deutsche Bank's favor.

Texas law also squarely provides that disputes over the amount due under the Note were

compulsory counterclaims that should have been brought in the first litigation. Given the

foregoing, all of Plaintiffs' claims of servicing of the loan should be dismissed on the basis of res

judicata.

C. Plaintiffs' RESPA Claim Fails.

        14. Ocwen's Timely Response to the Purported QWR. Plaintiffs allege Ocwen violated

Section 2605(e) of RESPA for failing to make a proper response to Plaintiffs' correspondence

regarding the dispute of debt. Section 2605(e) describes the duty of a loan servicer to respond to

borrower inquiries and provides that if a “servicer of a federally related mortgage loan receives a



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qualified written request [QWR] ... for information relating to the servicing of such loan, the

servicer shall provide a written response acknowledging receipt of the correspondence within 5

days ... unless the action requested is taken within such period.” 12 U.S.C. § 2605(e) (1)(A).

        15.     The Burkes mailed correspondence to Ocwen on September 13, 2018 via the United

States Postal Service, the correspondence having tracking number 9410 8036 9930 0101 2519 07.

The correspondence was received on September 19, 2018. A true and correct copy of the

correspondence referenced by the Burkes in their Complaint is attached hereto as Exhibit "A."

Thereafter, Ocwen, knowing that the Burkes were represented by counsel in the ongoing Fifth

Circuit litigation, provided the required acknowledgement letter to counsel for the Burkes on

September 24, 2018. [Doc. 1-3, p. 65]. The acknowledgement letter was provided within the five-

day window permitted by 12 U.S.C. §1024.35(d).

        16.     Thereafter, counsel for Ocwen received instructions from the Burkes' counsel for

Ocwen to communicate directly with the Burkes regarding their "RESPA request."                   See,

Correspondence from Counsel for the Burkes, attached hereto as Exhibit "B". Thereafter, counsel

for Owen responded to the purported QWR on October 15, 2018. [Doc. 1-3, p. 70]. The Response

of October 15th was within thirty days of receipt of the incoming purported QWR on September

19, 2018. As such, the Response was timely under 12 U.S.C. §2605(e)(2). The Burkes allegations

that Ocwen did not timely respond to the purported QWR are simply inaccurate.

        17.     Correspondence was not a Proper QWR. Ocwen asserts that the correspondence

sent by the Burkes failed to qualify as a QWR, and no response was therefore necessary. As

provided by statute, to constitute a QWR, the correspondence from the borrower must enable the

servicer to identify the name and account of the borrower, include a statement of the reasons for

the borrower's belief that the account is in error, or provide sufficient detail to the servicer



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regarding other information sought by the borrower. Id. § 2605(e)(1)(B)(emp. added). However,

without identifying any specific errors with the loan, the Burkes stated that the they have "reason

to believe that your statements of the balance due, the charges and fees listed there-in and other

related calculations are in error." [Doc. 1-3, p. 60]. Then, instead of asking for specific

information about the loan the Burkes instead asked for the production of every single document

touching the loan from its inception to the present. The exact request was, "To independently

validate this debt, we need to conduct a complete exam, audit, review and accounting of our

mortgage loan from inception until the present date." Id.

        18.      The Burkes' letter taking issue with the "validity of the debt" simply isn't the type

of correspondence that qualifies as a QWR. 6 Ocwen is only required to respond to a purported

QWR under RESPA to the extent the inquiry seeks “information relating to the servicing” of the

loan. 12 U.S.C. § 2605(e)(1)(A); also see, In re Parker, 655 Fed. Appx. 993, 998 (5th Cir. 2016).

RESPA defines the term “servicing” as “receiving any scheduled periodic payments from a

borrower pursuant to the terms of any loan, including amounts for escrow accounts described in

section 2609 of this title, and making the payments of principal and interest and such other

payments with respect to the amounts received from the borrower as may be required pursuant to

the terms of the loan.” 12 U.S.C. § 2605(i)(3)(emp. added); Hurd v. BAC Home Loans Servicing,

880 F.Supp.2d 747, 768 (N.D. Tex. 2012) (citing 12 U.S.C. § 2605(e)(1)(A)); Reed v. Litton Loan

Servicing, 2011 WL 817357 (E.D. Tex. 2011) (dismissing RESPA violation claim because the

invalid QWR letter did not relate to “servicing” of the loan); Allen v. Bank of Am., N.A., 2015 WL

1726986, (W.D. Tex. 2015) (“Courts have consistently held that a borrower’s written demand for



6
  Despite the existence of the Final Judgment affirming Deutsche Bank's right to foreclose, Ocwen's response to the
Burkes' correspondence included the Texas Home Security Instrument, Texas Home Equity Note, Assignment, and
the loan history from 2010 to present. [Doc. 1-3, pp. 71-102]

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the production of certain loan documents does not relate to the ‘servicing’ of a loan, and therefore

does not trigger a loan servicer’s response obligations under [RESPA].”).

        19.     As noted by the Fifth Circuit in its Final Judgment, the Burkes have not made a

payment on the loan since 2010. That being so, there are no records Ocwen would be required to

produce in response to a QWR from the Burkes because there has been no "receiving [of] any

scheduled periodic payments" since 2010, and there has been no "making of payments of principal

and interest ... with respect to the amounts received from the borrower."              See, 12 U.S.C.

§2605(i)(3).

        20.     The Burkes' correspondence does not qualify as a QWR for additional reasons as

well. First, servicing does not include the transactions and circumstances surrounding a loan’s

origination or the borrower’s contractual relationship with the lender, including materials

regarding the assignment or transfer of the loan. Chambers v. Citimortgage, Inc., 2014 WL

1819970, at *3–4 (W.D. Tex. May 7, 2014) (collecting cases concluding that request did not relate

to servicing). Second, a letter that fails to identify an alleged servicing error or fails to provide an

explanation for the reasons of the belief by the borrower regarding such error is not a valid QWR.

Turner v. Nationstar Mortg. LLC, 2015 WL 4629584, at *7 (N.D. Tex. May 13, 2015), report and

recommendation adopted in pertinent part, 2015 WL 4635760 (N.D. Tex. Aug. 4, 2015).

        21.     No Showing of Actual Damages. Even if the correspondence was determined to

be a valid QWR (which Ocwen denies), to state a viable claim under Section 2605(e), the Burkes

had to allege that they have suffered actual damages resulting from Ocwen's alleged violation of

12 U.S.C. 2605(e). Hurd v. BAC Home Loans Servicing, LP, 880 F. Supp. 2d 747, 768 (N.D. Tex.

2012)(“A plaintiff must allege actual damages resulting from a violation of § 2605.” The Burkes

have failed to allege any specific damages "beyond their cursory claim that they have suffered



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'millions'." The Burkes point to no specific loss they have suffered stemming from 12 U.S.C.

2605(e).

                                               III.
                                     DISMISSAL WITH PREJUDICE

        20.      The Court should deny Plaintiffs an opportunity to amend because any amendment

to their pleadings would be futile. See SB. Intern., v. Jindal, 2007 WL 2410007, * at 3 (N.D. Tex.

Aug. 23, 2007)(citing Foman v. Davis, 371 U.S. 178, 182 (1962)); see also Abruzzo v. PNC Bank,

N.A., 2012 WL 3200871, at *3 (N.D. Tex. July 30, 2012) (denying leave to amend with respect to

claims that fail as a matter of law). Plaintiffs’ allegations do not give rise to a plausible cause of

action against Ocwen. Even if all facts alleged by Plaintiffs are assumed true, no viable cause of

action exists against Ocwen as Plaintiffs have not pleaded “enough facts to state a claim to relief

that is plausible on its face.” Twombly, 550 U.S. at 570. The claims of breach of contract against

Ocwen are barred by the application of res judicata. Further, the Original Complaint fails to

present any factual allegations that would give rise to actionable conduct under RESPA against

Ocwen. As such, Plaintiff’s claims against Ocwen should be dismissed with prejudice pursuant to

Rule 12(b)(6).

                                                IV.
                                              PRAYER

        Pursuant the reasons set out herein, Ocwen respectfully request that the Court dismiss

Plaintiffs’ Complaint against it for failure to state a claim upon which relief can be granted and

further requests that the Court grant it any and all additional relief, whether at law or in equity, to

which it may be justly entitled.




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                                              HOPKINS LAW, PLLC

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                                              ATTORNEYS FOR OCWEN LOAN SERVICING, LLC



                                     CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of December 2018, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy
to the following:

VIA CM/RRR #7015 1520 0001 3934 1811
and VIA EMAIL
John Burke
46 Kingwood Greens Drive
Kingwood, Texas 77339

VIA CM/RRR #7015 1520 0001 3934 1828
and VIA EMAIL
Joanna Burke
46 Kingwood Greens Drive
Kingwood, Texas 77339

PRO SE PLAINTIFFS



                                                       /s/ Mark D. Hopkins
                                                      Mark D. Hopkins



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